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                                                 U.S. Department of Justice


                                                 United States Attorney
                                                 Eastern District of New York
JAM                                              271 Cadman Plaza East
F.#2017R00509                                    Brooklyn, New York 11201


                                                 September 16, 2020

By ECF

The Honorable LaShann DeArcy Hall
United States District Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

             Re:    United States v. Karl Jordan, Jr., et al.
                    Criminal Docket No. 20-CR-305 (LDH)

Dear Judge DeArcy Hall:

               The government respectfully submits the attached proposed stipulation and
order pertaining to discovery materials and other sensitive information (“the Proposed
Order”) to be produced by the government in connection with the above-captioned case. The
Proposed Order has been signed by counsel for the government and both defendants.
Accordingly, the parties respectfully request that the Court execute the Proposed Order.


                                                 Respectfully submitted,

                                                 SETH D. DUCHARME
                                                 Acting United States Attorney

                                         By:        /s/
                                                 Artie McConnell
                                                 Mark E. Misorek
                                                 Assistant U.S. Attorneys
                                                 (718) 254-7000


cc:   Clerk of Court (by ECF)
      Counsel for Defendant (by Email)
